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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)         ‫ ܆‬Original    ‫ ܆‬Duplicate Original


                               UNITED STATES DISTRICT COURT
                                                        for the                                           LODGED
                                                                                                  CLERK, U.S. DISTRICT COURT

                                            Central District of California

 United States of America,
                                                                                                  1/7/2022
                                                                                               CENTRAL DISTRICT OF CALIFORNIA
                                                                                                              jb
                                                                                                BY: ____________BB______ DEPUTY
                 v.
                                                                                 2:22-mj-00073 -duty
                                                                  Case No.
 Arnoldo Cruz,                                                                                                 FILED
                                                                                                     CLERK, U.S. DISTRICT COURT

                 Defendant.
                                                                                                         January 7, 2022

                                                                                                                 CD
                                                                                                  CENTRAL DISTRICT OF CALIFORNIA
                             CRIMINAL COMPLAINT BY TELEPHONE                                        BY: ___________________ DEPUTY

                            OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of July 2, 2021, in the county of Los Angeles in the Central District of California, the

defendant violated:

           Code Section                                           Offense Description

           18 U.S.C. § 2250(a)                                    Failure to register under the Sex
                                                                  Offender Registration and Notification
                                                                  Act (“SORNA”)


         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                                 /S/ Loekman Sutanto
                                                                                Complainant’s signature

                                                                  Loekman Sutanto, Deputy United States Marshal
                                                                                 Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                January 7, 2022
                                                                                     Judge’s signature

 City and state: Los Angeles, California                                     ALKA SAGAR
                                                                                 Printed name and title


                                                                                                              $UUHVW:DUUDQW
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                               AFFIDAVIT

     I, Loekman Sutanto, being duly sworn, declare and state as

follows:

                         PURPOSE OF AFFIDAVIT

     1.      This affidavit is made in support of a criminal

complaint against and warrant to arrest ARNOLDO CRUZ (“CRUZ”)

for a violation of 18 U.S.C. § 2250(a) (failure to register

under the Sex Offender Registration and Notification Act

(“SORNA”)).

     2.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.

     3.      This affidavit is intended to show only that there is

probable cause for the requested complaint and arrest warrant,

and does not purport to set forth all of my knowledge of or

investigation into this matter.

     4.      Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only. Further, all dates and

amounts are approximations, and the words “on or about” and

“approximately” are omitted for clarity.

                         BACKGROUND OF AFFIANT

     5.      I am a Deputy United States Marshal (“DUSM”) with the

United States Marshal Service (“USMS”) and have been so employed

since June 2003. I am currently assigned to the Sex Offenders

Investigative Branch in the Los Angeles Office, Central District

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of California. During the 25 weeks of training I completed at

the Federal Law Enforcement Training Center in Glynco, Georgia,

I received specific training in the areas of fugitive

apprehension, interviews, interrogations, affidavit writing, and

legal matters, to include searches and seizures.

     6.   Prior to becoming a DUSM, I was employed as a

Correctional Officer (“CO”) with the Federal Bureau of Prisons

(“BOP”) from May 2000 to January 2003, and as a Detention

Enforcement Officer (“DEO”) for the Immigration & Naturalization

Service (“INS”) from February 2003 to August 2003. As a BOP CO

and INS DEO, I attended a law enforcement academy for a total of

13 weeks and received extensive training in general correctional

management.

     7.   During my employment as a DUSM, I have conducted and

participated in numerous investigations of criminal activity and

fugitive apprehension. My responsibilities include investigating

individuals who are convicted sex offenders and who have failed

to register as required under federal, and I have conducted

numerous investigations of individuals who are in violation of

sex offender registration statutes.

                       SUMMARY OF PROBABLE CAUSE

     8.       On February 2, 2003, CRUZ was convicted in Colorado

state court of “Sex Assault-Overcome Victim’s Will,” in

violation of Colorado Statute § 18-3-402(1)(a) after committing

a forcible rape. Following his conviction, CRUZ was sentenced to

six years in prison. As a result of this conviction, CRUZ was

required to register as a sex offender under state and federal

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law, including SORNA. On October 30, 2006, CRUZ was paroled from

the prison sentence. At the time of parole, the Colorado State

Board of Parole ordered CRUZ to register as a sex offender upon

release from custody. Thereafter, CRUZ was convicted in Colorado

for failing to register as a sex offender.

     9.      On February 23, 2021, CRUZ submitted a Colorado Sex

Offender Registration Form to deregister himself as a sex

offender in Colorado. Upon deregistration, CRUZ provided his new

address in California as a particular residence in El Monte,

California (the “El Monte residence”). The deregistration form

instructed CRUZ that he was legally required to register as a

sex offender in California. CRUZ signed the form. By March 2021,

CRUZ had moved to the El Monte residence in California.

     10.     On July 2, 2021, CRUZ was arrested in Venice,

California, after he sexually assaulted and harassed three

different women earlier the same night. As of December 2021,

CRUZ had not registered as a sex offender in California.

                      STATEMENT OF PROBABLE CAUSE

     11.     Based on my review of law enforcement reports and

records, court records, criminal history records, sexual

registration documents, conversations with other law enforcement

personnel, and my own knowledge of this case, I know the

following:

     A.      Officers arrest CRUZ following his sexual assault and
             harassment of three women in Venice, California

     12.     On July 2, 2021, CRUZ was arrested after sexually

assaulting and harassing three different women in Venice,


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California. The Los Angeles Police Department (“LAPD”) reports

that I reviewed reflect the following events.

     13.   On July 2, 2021, at around 12:30 a.m. in Venice,

California, Victim 1 was asleep with her window open when she

felt someone’s hand reach underneath her shirt and fondle her

breasts. Victim 1 opened her eyes, saw CRUZ reaching through her

window, jumped out of bed, and screamed. When Victim 1 screamed,

CRUZ exposed his erect penis and began to masturbate directly

outside the window, yelled something to the effect of “I’m going

to fuck you,” and attempted to get into the bedroom through a

second window. Victim 1 shouted again that she was calling the

police, prompting CRUZ to run from the window.

     14.   On the same night, several hours later, Victim 2

walked her boyfriend to his car, which was parked outside her

residence in Venice. After her boyfriend got into his car and

drove away, Victim 2 heard CRUZ shout at her from across the

street, then saw CRUZ run in her direction. Victim 2 escaped

into her residence, and CRUZ began pounding on Victim 2’s

window. CRUZ then pulled down his pants and began to masturbate.

Victim 2 called her boyfriend, who returned to the street with

his pit bull, causing CRUZ to run away.

     15.   LAPD officers responded to Venice and began collecting

nearby Ring and surveillance footage, which yielded clear images

of CRUZ masturbating in public.

     16.   Thereafter (on the same night), while driving on Dell

Avenue at Court C in the Venice Canals, LAPD Detective Hess and

Officer Lee (who were together in an unmarked police car) saw


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CRUZ, who they recognized from the surveillance footage, wearing

a blue button-down shirt with a pink flamingo pattern and white

long pants. When the officers stopped and got out of their car,

CRUZ ran from the officers, though he surrendered approximately

140 feet from the initial encounter.

     17.   During the arrest, a man walked out of his residence

and told the officer that CRUZ had sexually harassed his wife,

Victim 3, moments earlier. Specifically, Victim 3 was walking

her dog at 7:20 a.m. when CRUZ approached and asked her about

her dog, then said “I got nine inches for you,” which Victim 3

understood to be a sexual proposition.

     18.   Victim 1 and Victim 2 were then transported to the

scene of arrest, where they each individually identified CRUZ as

the person who committed the sexual crimes on them.

     19.   Meanwhile, two other detectives found a 2007 Nissan

Altima bearing Vehicle Identification Number 1N4AL21E07N471375

(the “Nissan”) near Victim 1’s residence that was left running.

     20.   Inside the Nissan, detectives found a bill of sale

dated June 28, 2021 showing that ARNOLDO CRUZ of the El Monte

residence owned the Nissan.

     21.   Following CRUZ’s arrest, LAPD Detective Hess and

Officer Lee met with CRUZ for a recorded interview, and read

CRUZ Miranda warnings verbatim from an LAPD-issued card.

     22.   CRUZ waived his Miranda rights and told the officers

that he had recently been released from Colorado prison after

serving a 23-year sentence, and that when he was released, he

contacted his wife, who told him to move in with his mother in


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Los Angeles, where he grew up. 1 According to CRUZ, he then moved

in with his mother in El Monte, California (which is the town

where the El Monte residence is located).

     23.   Regarding the sexual assaults, CRUZ said he drove to

Venice that night because he wanted to see the ocean. CRUZ also

admitted that he engaged with a number of women, but denied

sexually assaulting the women. For example, CRUZ said that his

proposition to give Victim 3 “nine inches” was a reference to a

Nine Inch Nails song, that the videos of him masturbating in

fact showed him merely urinating, and that he only went into

residents’ yards because a “black man” was chasing him.

     24.   CRUZ also told the officers that he resided at the El

Monte residence.

     B.    CRUZ knew that he was required to register as a sex
           offender in California

     25.   Following CRUZ’s arrest in Venice on July 2, 2021, the

investigation was referred to the United States Marshals Service

to investigate CRUZ’s failure to register as a sex offender in

California. Based on law enforcement, court, and registration

records, I learned the following information.

     26.   On February 2, 2003, CRUZ was convicted in Colorado

state court of “Sex Assault-Overcome Victim’s Will,” in

violation of Colorado Statute § 18-3-402(1)(a). Records show

that CRUZ raped a woman with whom he was living. One document



     1 CRUZ reported his address to the officers as the El Monte
residence, as reflected on the LAPD Investigative Action-
Statement Form that memorialized CRUZ’s waiver of his Miranda
rights.
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obtained from Colorado authorities describes the rape as

follows:

     The female victim stated that she and the offender
     resided together for approximately 7 years. The victim
     went to drop the offender off at the halfway house he
     was residing at. The offender tried to hug her and
     told her “if he can’t have her, no one can.” The
     victim pushed the offender away, but he told her he
     was going to “do it to her and get her pregnant so he
     could keep her by his side.”

     The offender forced her down on the seat and pulled
     her pants down. The offender had intercourse with the
     victim even while she was screaming and telling him to
     “please stop.” The offender told the victim to stop
     screaming or else he would hit her. The offender had
     intercourse with the victim a second time before
     letting her out of the car.

     27.   Following his conviction, CRUZ was sentenced to six

years in prison. As a result of this conviction, CRUZ was

required to register as a sex offender under state and federal

law, including SORNA.

     28.   On October 30, 2006, when CRUZ was paroled from the

prison sentence, the Colorado State Board of Parole (“CSBP”)

ordered CRUZ to register as a sex offender upon release from

custody. For instance, a CSBP document, dated October 30, 2006,

states that CRUZ appeared before the CSBP in person and that

CRUZ was “specifically notified” of his “sex offender

registration” requirement.

     29.   Court records show that less than two years later, in

August 2008, CRUZ was arrested in Colorado for homicide, and

thereafter, pled guilty to first-degree assault with a weapon

causing serious bodily injury. Around the same time, CRUZ was


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convicted of failing to register as a sex offender in Colorado.

On April 7, 2010, CRUZ was sentenced in Colorado to 10 years in

prison for the first-degree assault and three years in prison

for failing to register as a sex offender. CRUZ was released in

2017.

        30.   On February 23, 2021, CRUZ submitted a Colorado Sex

Offender Registration Form (Form 2018 CBI SXO-1) to deregister

himself as a sex offender in Colorado. Upon deregistration, CRUZ

provided the El Monte residence as his new address in

California. On Page 7 of the Colorado Form 2018 CBI SXO-1, under

“Where to Register,” Item 6 states “It is a requirement of the

Adam Walsh Act that you register within three business days if

you move out of state.” CRUZ signed the form.

        C.    CRUZ failed to register as a sex offender in
              California

        31.   On September 28, 2021, the SORNA investigation of CRUZ

was referred to United States Marshals Service in Los Angeles,

California, where the investigation was initially assigned to

DUSM Luna, who learned that CRUZ had been arrested for the July

2, 2021 sexual assaults in Venice, and was being housed at

Pitchess Detention Center in Castaic, California.

        32.   On October 4, 2021, DUSM Luna conducted a search of

the California Sex and Arson Registry and found no record of

CRUZ registering as a sex offender in California.

        33.   On October 26, 2021, the California Department of

Justice completed a registration requirement assessment for

CRUZ, and determined that because of CRUZ’s Colorado conviction,



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CRUZ had a lifetime requirement to register as a sex offender in

California.

      34.   On October 29, 2021, LAPD Detective Hopkins informed

DUSM Luna that on April 22, 2021, CRUZ received a traffic

citation (number JJ-76969) in El Centro, California, for driving

without a license, in violation of California Vehicle Code §

12951A. During the traffic stop, CRUZ provided the El Monte

residence as his residential address to the California Highway

Patrol officer who issued the citation. At the time of the

incident, CRUZ was driving a 2008 Jeep with California plate

6DRB812.

      35.   On November 3, 2021, Los Angeles County Department of

Public Social Services (“DPSS”) informed DUSM Luna that on March

9, 2021, CRUZ applied for welfare benefits, and that on the

application, CRUZ provided his home address as the El Monte

residence. I have obtained DPSS records confirming that, in

March 2021, CRUZ reported his address to DPSS as the El Monte

residence.

      36.   On November 5, 2021, I searched CRUZ in the National

Law Enforcement Telecommunications System. The results showed

that between November 28, 2007 and February 15, 2021, CRUZ had

been arrested nine times, convicted once, and had his parole

revoked four times, all for failing to register as a sex

offender in Colorado.

      37.   On November 9, 2021, I conducted surveillance at the

El Monte residence. While conducting surveillance, I observed a

2017 Nissan Maxima, which was registered to a woman with the


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last name CRUZ, who I believe to be CRUZ’s relative, at the El

Monte residence.

      38.   On December 16, 2021, I spoke with Detective Polanco

of the El Monte Police Department (“EMPD”), who confirmed that

CRUZ has never registered as a sex offender with EMPD.

                                CONCLUSION

      39.   For the foregoing reasons, there is probable cause to

issue the requested complaint and arrest warrant.


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
                    7th day of
telephone on this _____
 January
__________, 2022.



THE HONORABLE ALKA SAGAR
UNITED STATES MAGISTRATE JUDGE




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